494601-01 CJ                           CJ/cw


                          UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF OHIO

IN RE:                                         )   CHAPTER 13
                                               )
REBECCA L. HORVATH                             )   CASE NO. 23-51015
                                               )
                Debtor                         )   JUDGE ALAN M. KOSCHIK
                                               )
                                               )   SANTANDER CONSUMER USA INC.
                                               )   RELIEF FROM STAY WORKSHEET
                                               )   [EXHIBIT C]

I.       LOAN DATA

         A.    IDENTIFICATION OF COLLATERAL (check all that apply):

                      Real Estate
                             Principal Residence of Debtor(s)
                             Other

                      Personal Property
                      2015 Chevrolet Silverado 1500 VIN: 1GCVKREC8FZ229523
                      Other Property _____________________________________

         B.    CURRENT VALUE OF COLLATERAL: $20,475.00

         C.    SOURCE OF COLLATERAL VALUATION: N.A.D.A.

         D.    ORIGINAL LENDER: Waikem Motors Inc.

         E.    ENTITY ENTITLED TO ENFORCE THE NOTE: Santander Consumer USA

               Inc.

         F.    CURRENT LOAN SERVICER: N/A

         G.    DATE OF LOAN: June 16, 2022

         H.    ORIGINAL PRINCIPAL AMOUNT DUE UNDER NOTE: $35,428.49

         I.    ORIGINAL INTEREST RATE ON NOTE: 16.59%

         J.    CURRENT INTEREST RATE: 16.59%
      K.    ORIGINAL MONTHLY PAYMENT AMOUNT
            (principal and interest only for mortgage loans): $780.06

      L.    CURRENT MONTHLY PAYMENT AMOUNT: $780.06

      M.    THE CURRENT MONTHLY PAYMENT AMOUNT LISTED ABOVE:

                   Includes an escrow amount of $__________ for real estate taxes.
                   Includes an escrow amount of $__________ for property insurance.
                   Includes an escrow amount of $__________ for ____________________.
                   Does not include any escrow amount.

      N.    DATE LAST PAYMENT RECEIVED: July 14, 2023

      O.    AMOUNT OF LAST PAYMENT RECEIVED: $780.06

      P.    AMOUNT HELD IN SUSPENSE ACCOUNT: N/A

      Q.    NUMBER OF PAYMENTS PAST DUE: 8

II.   AMOUNT ALLEGED TO BE DUE AS OF THE DATE THE MOTION IS FILED


                 Description of Charge              Total         Number       Dates
                                                  Amount of      of Charges   Charges
                                                   Charges        Incurred    Incurred


      A.   PRINCIPAL                             $33,746.42

      B.   INTEREST                              $1,351.98

      C.   TAXES                                 $0.00

      D.   INSURANCE                             $0.00

      E.   LATE FEES                             $195.00

      F.   NON-SUFFICIENT FUNDS FEES             $20.00

      G.   PAY-BY-PHONE FEES                     $0.00

      H.   BROKER PRICE OPINIONS                 $0.00

      I.   FORCE-PLACED INSURANCE                $0.00
       J.    PROPERTY INSPECTIONS                   $0.00

       K.    OTHER CHARGES                          $0.00
             (describe in detail and state
             contractual basis for recovering the
             amount from the debtor)

       TOTAL OF DEBT AS OF DATE MOTION IS FILED:                    $35,313.40*
       * This total cannot be relied upon as a payoff quotation.

III.   TOTAL DEBT LESS AMOUNT HELD IN SUSPENSE:

IV.    AMOUNT OF ORIGINAL PRE-PETITION ARREARAGES

V.     AMOUNT OF ALLEGED POST-PETITION DEFAULT $6,240.48

                Description of                                       Date
                   Charge                Amount      Number        Incurred       Total


       A.    PAYMENTS                $780.06         8                        $6,240.48

       B.    POST-PETITION           $
             PAYMENTS
             ADVANCED FOR
             TAXES (if not
             included in payment
             amount above)

       C.    POST-PETITION           $
             PAYMENTS
             ADVANCED FOR
             INSURANCE (if not
             included in payment
             amount above)

       D.    LATE FEES               $

       E.    NON-SUFFICIENT          $
             FUNDS FEES

       F.    PAY-BY-PHONE            $
             FEES

       G.    BROKER PRICE            $
            OPINIONS

       H.   FORCE-PLACED           $
            INSURANCE

       I.   PROPERTY               $
            INSPECTIONS

       J.   OTHER CHARGES          $

       TOTAL ACCRUED:                     $6,240.48

       LESS SUSPENSE Balance:             $ N/A

       TOTAL POST-PETITION DEBT:          $6,240.48

V.     THE TRUSTEE LEDGER SHOWING POST-PETITION DISBURSEMENTS ON THIS
       DEBT OR A POST-PETITION PAYMENT SUMMARY SHOWING THE
       PAYMENTS MADE BY THE DEBTOR ON THIS DEBT IS ATTACHED TO THIS
       WORKSHEET AS EXHIBIT “1".

This Exhibit and Worksheet was prepared by:

            /s/ Cynthia A. Jeffrey
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